905 F.2d 1529Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Herman FULTON, Petitioner-Appellant,v.James BROWN, Captain, Lacy Thornburg, Respondents-Appellees.
    No. 89-6805.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 18, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Hiram H. Ward, Senior District Judge.  (C/A No. 87-770-G)
      Herman Fulton, appellant pro se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      M.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Herman Fulton appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause, deny leave to proceed in forma pauperis on appeal, and dismiss the appeal on the reasoning of the district court.  Fulton v. Brown, CA-87-770-G (M.D.N.C. Aug. 23, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    